        Case: 1:10-cv-01279 Document #: 1 Filed: 02/25/10 Page 1 of 4 PageID #:1




                          UNITED STATES DISTRICT COURT
                          NORTHERN DISTRICT OF ILLINOIS
                                EASTERN DIVISION

Paula Runge                                         Case No.:
211 N. Kaspar, #106
Arlington Heights, IL 60005                         Judge:

         Plaintiff,                                    COMPLAINT FOR DAMAGES
                                                    UNDER THE FAIR DEBT COLLECTION
v.                                                     PRACTICES ACT AND OTHER
                                                           EQUITABLE RELIEF
The Regional Adjustment Bureau, Inc.
7000 Goodlett Farms Parkway                          JURY DEMAND ENDORSED HEREIN
Memphis, TN 38016

         Defendant.


                                   JURISDICTION AND VENUE

1. Jurisdiction is founded on 28 U.S.C. §1331 pursuant to the Fair Debt Collection Practices

     Act (FDCPA), 15 U.S.C. §1692. Venue is proper because a substantial part of the events

     giving rise to this claim occurred in this judicial district.

                                 FACTS COMMON TO ALL COUNTS

2. Plaintiff is a “consumer” as defined by 15 U.S.C. §1692a(3).

3. Plaintiff incurred a “debt” as defined by 15 U.S.C. §1692a(5).

4. At the time of the communications referenced herein, Defendant either owned the debt or

     was retained by the owner to collect the debt.

5. Defendant is a “debt collector” as defined by the FDCPA, 15 U.S.C. §1692a(6).

6. Plaintiff filed this claim within the timeframe permitted under the FDCPA.

7. On or around December 15, 2009, Defendant telephoned Plaintiff at Plaintiff’s place of

     employment.




                                                     1
       Case: 1:10-cv-01279 Document #: 1 Filed: 02/25/10 Page 2 of 4 PageID #:2




8. During this communication, Plaintiff notified Defendant that Plaintiff’s employer prohibits

   such communications at Plaintiff’s place of employment and/or that Defendant’s telephone

   calls to Plaintiff’s place of employment were inconvenient for Plaintiff.

9. Despite this notice, Defendant telephoned Plaintiff’s place of employment repeatedly and

   with the intent to harass Plaintiff later that same day.

10. Defendant continued to call Plaintiff’s place of employment in connection with the collection

   of the debt throughout the remainder of December 2009.

11. During several of these communications, Plaintiff again notified Defendant that Plaintiff’s

   employer prohibits such communications at Plaintiff’s place of employment and/or that

   Defendant’s telephone calls to Plaintiff’s place of employment were inconvenient for

   Plaintiff, but Defendant continued to call.

12. Defendant damaged Plaintiff emotionally and mentally and caused Plaintiff substantial

   anxiety and stress.

13. Defendant violated the FDCPA.

                                           COUNT ONE

                         Violation of the Fair Debt Collection Practices Act

14. Plaintiff incorporates each of the preceding allegations as if specifically stated herein.

15. Defendant violated 15 U.S.C. §1692c by calling Plaintiff at Plaintiff’s place of employment

   after Defendant knew or had reason to know that Plaintiff’s employer prohibited Plaintiff

   from receiving Defendant’s phone calls.

                                           COUNT TWO

                         Violation of the Fair Debt Collection Practices Act

16. Plaintiff incorporates each of the preceding allegations as if specifically stated herein.




                                                  2
       Case: 1:10-cv-01279 Document #: 1 Filed: 02/25/10 Page 3 of 4 PageID #:3




17. Defendant violated 15 U.S.C. §1692c by calling Plaintiff at a time and/or place known to be

    inconvenient for Plaintiff.

                                          COUNT THREE

                       Violation of the Fair Debt Collection Practices Act

18. Plaintiff incorporates each of the preceding allegations as if specifically stated herein.

19. Defendant violated 15 U.S.C. §1692d by engaging in conduct the natural consequence of

    which was to harass, oppress, or abuse Plaintiff.

                                           COUNT FOUR

                       Violation of the Fair Debt Collection Practices Act

20. Plaintiff incorporates each of the preceding allegations as if specifically stated herein.

21. The Defendant violated 15 U.S.C. §1692f in that its actions were unfair and/or

    unconscionable means to collect the debt.

                                          JURY DEMAND

22. Plaintiff demands a trial by jury.

                                      PRAYER FOR RELIEF

23. Plaintiff prays for the following relief:

            a. Judgment against Defendant for actual damages, statutory damages, and costs and

                reasonable attorney’s fees pursuant to 15 U.S.C. §1692k.

            b. For such other legal and/or equitable relief as the Court deems appropriate.




                                                  3
Case: 1:10-cv-01279 Document #: 1 Filed: 02/25/10 Page 4 of 4 PageID #:4




                                RESPECTFULLY SUBMITTED,

                                Legal Helpers, P.C.

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                                   4
